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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR13-359-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   FERDINAND CLAY,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Possess Marijuana with Intent to Distribute; Interfere with

15 Commerce by Robbery; Carrying and Brandishing a Firearm During and in Relation to a Drug

16 Trafficking Crime and Crime of Violence; Felon in Possession of a Firearm; Conspiracy to

17 Possess Firearms; Allegations of Forfeiture

18 Date of Detention Hearing:     November 14, 2013.

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 that no condition or combination of conditions which defendant can meet will reasonably

22 assure the appearance of defendant as required and the safety of other persons and the



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01 community.

02         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

03         1.      Defendant was indicted on the above charges in this District on November 6,

04 2013.He has a lengthy criminal record, including numerous failures to appear at hearing with

05 bench warrant activity, and a history of noncompliance while on supervision.

06         2.      Defendant was not interviewed by Pretrial Services. Much of his background

07 information is unknown or unverified. Defendant does not contest entry of an order of

08 detention.

09         3.      Defendant poses a risk of nonappearance due to criminal history, history of

10 failing to appear and bench warrant activity, and poor performance on supervision. Defendant

11 poses a risk of danger due to criminal history.

12         4.      There does not appear to be any condition or combination of conditions that will

13 reasonably assure the defendant’s appearance at future Court hearings while addressing the

14 danger to other persons or the community.

15 It is therefore ORDERED:

16      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

17         General for confinement in a correction facility separate, to the extent practicable, from

18         persons awaiting or serving sentences or being held in custody pending appeal;

19      2. Defendant shall be afforded reasonable opportunity for private consultation with

20         counsel;

21      3. On order of the United States or on request of an attorney for the Government, the

22         person in charge of the corrections facility in which defendant is confined shall deliver



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01        the defendant to a United States Marshal for the purpose of an appearance in connection

02        with a court proceeding; and

03     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

04        for the defendant, to the United States Marshal, and to the United State Pretrial Services

05        Officer.

06        DATED this 14th day of November, 2013.

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08                                                      A
                                                        Mary Alice Theiler
09                                                      Chief United States Magistrate Judge

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     DETENTION ORDER
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